                               DISTRICT COURT OF GUAM
                                 TERRITORY OF GUAM



 Fedor Simanov,                                  Civil Case No. 1:19-cv-00147

                  Plaintiff,

         vs.                                        J U D G M E N T

 Press Agencies: GuamPDN, et al.

                   Defendants.


      Judgment is hereby entered in accordance with the Order on Defendants’ Motions to
Dismiss (ECF Nos. 41, 43, and 44) filed on September 2, 2021.

       Dated this 2nd day of September, 2021, Hagatna, Guam.


                                                               /s/ Jeanne G. Quinata
                                                                   Clerk of Court




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